                                                                                Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 1 of 14 Page ID #:1




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                                                                                                                                         8                         UNITED STATES DISTRICT COURT
                                                                                                                                         9                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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                                                                                                                                        11 NEWS GROUP NEWSPAPERS                        CASE No. 2:20-mc-00027
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                           LIMITED, a company incorporated
                                                                                                                                        12 under the laws of England and Wales,         APPLICATION FOR ORDER
       G R A NT H A M L L P




                                                                                                                                           and DAN WOOTTON, an individual,              COMPELLING TESTIMONY OF
                                       232 N. CANON DRIVE




                                                                                                                                        13                                              LAURA DIVENERE, MELISSA
                                                                                                                                                        Petitioners,                    SAENZ AND TYLER HADDEN IN
                                                                                                                                        14                                              FOREIGN PROCEEDING UNDER
                                                                                                                                                 v.                                     28 U.S.C. 1782
                                                                                                                                        15
                                                                                                                                           LAURA DIVENERE, an individual,
                                                                                                                                        16 MELISSA SAENZ, an individual, and
                                                                                                                                           TYLER HADDEN, an individual
                                                                                                                                        17
                                                                                                                                                        Respondents.
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                                                                                                                                              APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                            TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                                                Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 2 of 14 Page ID #:2




                                                                                                                                         1                                                 TABLE OF CONTENTS
                                                                                                                                         2                                                                                                                             Page
                                                                                                                                         3
                                                                                                                                         4 I.             JURISDICTION ................................................................................................ 1
                                                                                                                                         5 II.            BACKGROUND FACTS ................................................................................. 2
                                                                                                                                         6 III.           IMPORTANCE OF MS. DIVENERE’S TESTIMONY TO THE
                                                                                                                                                          ACTION ............................................................................................................ 3
                                                                                                                                         7
                                                                                                                                             IV.          IMPORTANCE OF MELISSA SAENZ'S AND TYLER HADDEN’S
                                                                                                                                         8                TESTIMONY TO THE ACTION..................................................................... 7
                                                                                                                                         9 V.             GOOD CAUSE EXISTS FOR ISSUING THE ORDER.................................. 8
                                                                                                                                        10 VI.            PETITIONERS SEEK ORDER ALLOWING THEM TO SERVE MS.
                                                                                                                                                          DIVENERE’S COUNSEL ................................................................................ 8
R U F U S -I S A A C S A C L A N D &


                                                                                              Tel (310) 274-3803 • Fax (310) 860-2430




                                                                                                                                        11
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                             VII. CONCLUSION ................................................................................................. 9
                                                                                                                                        12
       G R A NT H A M L L P
                                       232 N. CANON DRIVE




                                                                                                                                        13
                                                                                                                                        14
                                                                                                                                        15
                                                                                                                                        16
                                                                                                                                        17
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                                                                                                                                        20
                                                                                                                                        21
                                                                                                                                        22
                                                                                                                                        23
                                                                                                                                        24
                                                                                                                                        25
                                                                                                                                        26
                                                                                                                                        27
                                                                                                                                        28
                                                                                                                                             8544.5.3.7
                                                                                                                                                                                                               i
                                                                                                                                              APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                            TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                                                Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 3 of 14 Page ID #:3




                                                                                                                                         1                                           TABLE OF AUTHORITIES
                                                                                                                                         2                                                                                                                         Page
                                                                                                                                         3
                                                                                                                                         4 CASES
                                                                                                                                         5 Global Impex, Inc. v. Specialty Fibres LLC (ND GA 2015) 77 F.Supp.3d
                                                                                                                                                 1268, 1270-1271 ................................................................................................ 9
                                                                                                                                         6
                                                                                                                                           LSJ Investment Co., Inc. v. O.L.D., Inc. (6th Cir. 1999) 167 F.3d 320, 322-323 ....... 9
                                                                                                                                         7
                                                                                                                                         8
                                                                                                                                             FEDERAL STATUTES
                                                                                                                                         9
                                                                                                                                             28 U.S.C. § 1331.......................................................................................................... 2
                                                                                                                                        10
                                                                                                                                             28 U.S.C. § 1782...................................................................................................... 1, 2
R U F U S -I S A A C S A C L A N D &


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                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                             Fed. R. Civ. P. 26 ......................................................................................................... 1
                                                                                                                                        12
       G R A NT H A M L L P




                                                                                                                                             FRCP 4(e)(1)................................................................................................................ 9
                                       232 N. CANON DRIVE




                                                                                                                                        13
                                                                                                                                             U.S.C. §1391(b) ........................................................................................................... 2
                                                                                                                                        14
                                                                                                                                        15
                                                                                                                                             STATE STATUTES
                                                                                                                                        16
                                                                                                                                             Calif. C.C.P. § 413.30 .................................................................................................. 9
                                                                                                                                        17
                                                                                                                                        18
                                                                                                                                        19
                                                                                                                                        20
                                                                                                                                        21
                                                                                                                                        22
                                                                                                                                        23
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                                                                                                                                        25
                                                                                                                                        26
                                                                                                                                        27
                                                                                                                                        28
                                                                                                                                             8544.5.3.7
                                                                                                                                                                                                           ii
                                                                                                                                              APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                            TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                                                Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 4 of 14 Page ID #:4




                                                                                                                                         1                Petitioners News Group Newspapers Limited (“News Group”) and Dan
                                                                                                                                         2 Wootton (jointly, “Petitioners”), based upon the concurrently filed Memorandum of
                                                                                                                                         3 Points and Authorities, Request for Judicial Notice and supporting Declarations and
                                                                                                                                         4 exhibits, and pursuant to 28 U.S.C. § 1782 and Fed. R. Civ. P. 26 and 45, apply to
                                                                                                                                         5 this court for an order compelling respondents Laura Divenere, Melissa Saenz and
                                                                                                                                         6 Tyler Hadden, all being persons who work or reside in this district, to attend a
                                                                                                                                         7 designated location in Los Angeles County on a designated date to give live
                                                                                                                                         8 testimony via video-link in the trial of a pending proceeding in England.
                                                                                                                                         9                This application seeks substantially the same order as the one that the Court
                                                                                                                                        10 granted on March 11, 2020, in the related case of News Group Newspapers Limited
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                                                                                                                                        11 and Dan Wootton v. Melanie Inglessis, Case No. 2:20-mc-00020-UA-PJW.
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12 I.             JURISDICTION
       G R A NT H A M L L P
                                       232 N. CANON DRIVE




                                                                                                                                        13                Petitioner News Group publishes newspapers including The Sun, and is
                                                                                                                                        14 incorporated under the laws of England and Wales with its registered office at 1
                                                                                                                                        15 London Bridge Street, London SE1 9GF, United Kingdom. Petitioner Dan Wootton
                                                                                                                                        16 is a journalist employed by News Group who wrote the articles in question, and is a
                                                                                                                                        17 resident of the United Kingdom. [Declaration of Jeffrey Smele (“JS Decl.”), ¶2.]
                                                                                                                                        18                Respondent Laura Divenere is a resident of Los Angeles, California, who
                                                                                                                                        19 works as an interior decorator. [See Exh. 1 (Declaration of Laura Divenere under the
                                                                                                                                        20 caption of the Virginia Action1 which she executed in Los Angeles on June 28, 2019
                                                                                                                                        21 (“Divenere Declaration”), and in which she states that she has lived in the Eastern
                                                                                                                                        22 Columbia Building in downtown Los Angeles (¶2)); Exh. 2 (printout of Ms.
                                                                                                                                        23 Divenere’s profile on LinkedIn identifying herself as a resident of Los Angeles);
                                                                                                                                        24
                                                                                                                                             1
                                                                                                                                        25  Mr. Depp filed a libel action in Fairfax County, Virginia, against his former wife Ms. Amber
                                                                                                                                           Heard in respect of a publication in the Washington Post entitled, “I spoke up against sexual
                                                                                                                                        26 violence — and faced our culture’s wrath. That has to change” (the “Virginia Action”). The
                                                                                                                                           Virginia Action is on-going, but so far as Petitioners are aware, the Divenere Declaration has
                                                                                                                                        27 never been filed. [JS Decl., ¶4.]
                                                                                                                                        28
                                                                                                                                             8544.5.3.7
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                                                                                                                                                 APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                               TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                                                Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 5 of 14 Page ID #:5




                                                                                                                                         1 Declaration of Alexander Rufus-Isaacs (“ARI Decl.”), ¶2.]
                                                                                                                                         2                Melissa Saenz and Tyler Hadden are police officers employed by the Los
                                                                                                                                         3 Angeles Police Department at Southwest Community Police Station, 1546 West
                                                                                                                                         4 Martin Luther King Jr. Blvd. Los Angeles, C.A. 90062. [Exh. 3.]
                                                                                                                                         5                This Application is made pursuant to 28 U.S.C. § 1782. This Court has
                                                                                                                                         6 jurisdiction pursuant to 28 U.S.C. § 1331. Venue is proper in this district pursuant to
                                                                                                                                         7 U.S.C. §1391(b).
                                                                                                                                         8 II.            BACKGROUND FACTS
                                                                                                                                         9                Petitioners are the defendants in an action currently pending in the Media and
                                                                                                                                        10 Communications List of the Queen's Bench Division of the High Court of England
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                                                                                                                                        11 and Wales in London (the “High Court”), captioned John Christopher Depp II vs.
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12 News Group Newspapers Limited, and Dan Wootton, Claim No. QB-2018-006323
       G R A NT H A M L L P
                                       232 N. CANON DRIVE




                                                                                                                                        13 (the “English Action”). The English Action was filed in 2018. The trial is scheduled
                                                                                                                                        14 to commence on March 23, 2020 and is anticipated to last 2 weeks. [JS Decl., ¶3.]
                                                                                                                                        15                The English Action is a libel claim brought by John Christopher Depp II (the
                                                                                                                                        16 well-known actor who works professionally as Johnny Depp) against News Group
                                                                                                                                        17 and Mr. Wootton. It seeks damages and an injunction in respect of an article
                                                                                                                                        18 published online on The Sun’s website on April 27, 2018, and an article published in
                                                                                                                                        19 The Sun on April 28, 2018. [Id.] In the Particulars of Claim (the English equivalent
                                                                                                                                        20 of a complaint), Mr. Depp alleges that the words complained of meant that:
                                                                                                                                        21         “Mr. Depp was guilty, on overwhelming evidence, of serious domestic
                                                                                                                                                   violence against his then wife, causing significant injury and leading to her
                                                                                                                                        22         fearing for her life, for which Mr. Depp was constrained to pay no less than
                                                                                                                                                   £5 million to compensate her, and which resulted in him being subjected to a
                                                                                                                                        23         continuing court restraining order; and for that reason is not fit to work in
                                                                                                                                                   the film industry. ” [Exh. 4, ¶10.]
                                                                                                                                        24
                                                                                                                                                          The Petitioners rely on the defense of substantive truth pursuant to section 2
                                                                                                                                        25
                                                                                                                                             of the UK’s Defamation Act 2013, which is similar to the substantial truth defense
                                                                                                                                        26
                                                                                                                                             under US law. In short, they aver in their Re-Amended Defence (the English
                                                                                                                                        27
                                                                                                                                             equivalent of an Amended Answer), that Mr. Depp “beat his wife Amber Heard
                                                                                                                                        28
                                                                                                                                             8544.5.3.7
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                                                                                                                                              APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                            TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                                                Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 6 of 14 Page ID #:6




                                                                                                                                         1 causing her to suffer significant injury and on occasion leading to her fearing for her
                                                                                                                                         2 life.” [Exh. 5, ¶8.] They rely on fourteen specifically alleged incidents of abuse from
                                                                                                                                         3 2013 to 2016 (some of which took place over multiple days), including an incident
                                                                                                                                         4 on May 21, 2016 which the police were called to attend. They allege more generally
                                                                                                                                         5 that “throughout their relationship Mr. Depp was verbally and physically abusive
                                                                                                                                         6 towards Ms. Heard, particularly when he was under the influence of alcohol and/or
                                                                                                                                         7 drugs” [Id., ¶8(a).]
                                                                                                                                         8                Mr. Depp responded in a Re-Amended Reply by claiming that “he has never
                                                                                                                                         9 hit or committed any acts of physical violence against Ms. Heard” and “has never
                                                                                                                                        10 done more than grab her arms to prevent her punching him in the face” [Exh. 6,
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                                                                                                                                        11 ¶2.1(a).] He also denied each of the specific allegations of violence alleged by the
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12 Petitioners.
       G R A NT H A M L L P
                                       232 N. CANON DRIVE




                                                                                                                                        13 III.           IMPORTANCE OF MS. DIVENERE’S TESTIMONY TO THE
                                                                                                                                        14                ACTION
                                                                                                                                        15                In the Divenere Declaration [Exh. 1], Ms. Divenere states as follows:
                                                                                                                                        16                She worked for Johnny Depp and Amber Heard as their interior decorator in
                                                                                                                                        17 downtown L.A. in the Eastern Columbia Building from July 2014 to sometime in
                                                                                                                                        18 2016. Thereafter, she worked for Ms. Heard and still did as of June 2019. She also at
                                                                                                                                        19 times lived in the Eastern Columbia Building. [¶2.]
                                                                                                                                        20                She has been and continues to consider herself a friend of Ms. Heard’s. She
                                                                                                                                        21 remained in regular contact with her as of June 2019. She has not communicated
                                                                                                                                        22 with Mr. Depp since 2016. [¶3.]
                                                                                                                                        23                She is aware that Ms. Heard has made a number of accusations against Mr.
                                                                                                                                        24 Depp alleging violent abuse, including that on May 21, 2016, Mr. Depp threw a
                                                                                                                                        25 phone into Ms. Heard’s face as hard as could, hitting her in the eye. and then further
                                                                                                                                        26 beat her face. [¶4.]
                                                                                                                                        27                She was with Ms. Heard and interacted with her frequently on the several
                                                                                                                                        28 days immediately following her abuse allegation of May 21, 2016, including at least
                                                                                                                                             8544.5.3.7
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                                                                                                                                              APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                            TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                                                Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 7 of 14 Page ID #:7




                                                                                                                                         1 on May 23, 24 and 25. On those days, she worked with Ms. Heard, retrieved
                                                                                                                                         2 packages for her, rode elevators with her, and saw her up close and in person. On
                                                                                                                                         3 none of those days immediately following the abuse claims did she observe any
                                                                                                                                         4 signs of physical abuse or injury, including any redness, swelling, cuts, bruising or
                                                                                                                                         5 damage of any kind. She has never seen Ms. Heard with any signs of physical abuse
                                                                                                                                         6 or injury, including redness, swelling, cuts, bruising or damage of any kind. She
                                                                                                                                         7 never saw Ms. Heard injured in any way, although she is now aware that Ms. Heard
                                                                                                                                         8 has made many different abuse claims. [¶5.]
                                                                                                                                         9                In all her many interactions with Ms. Heard over a period of years, Ms. Heard
                                                                                                                                        10 did not ever mention any allegation of violence or other abuse to Ms. Divenere, who
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                                                                                                                                        11 does not recall Ms. Heard making any allegation of violence or other abuse to her in
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12 the days immediately following May 21. Ms. Divenere knew and interacted with
       G R A NT H A M L L P
                                       232 N. CANON DRIVE




                                                                                                                                        13 Ms. Heard's close friends Rocky Pennington, iO Tillett Wright, and her sister
                                                                                                                                        14 Whitney Heard. None of them ever mentioned to her any accusation of violence or
                                                                                                                                        15 other abuse against Ms. Heard by Mr. Depp. [¶6.]
                                                                                                                                        16                She interacted frequently with Johnny Depp on a professional basis and never
                                                                                                                                        17 witnessed him being aggressive with anyone. [¶7.]
                                                                                                                                        18                She witnessed Ms. Heard being verbally abusive towards her former personal
                                                                                                                                        19 assistant Kate, screaming at her on the phone. Her then-assistant Kate called Ms.
                                                                                                                                        20 Divenere several times in tears, very upset, regarding the treatment she received
                                                                                                                                        21 from Ms. Heard. [¶8.]
                                                                                                                                        22                On February 20, 2020, Mr. Depp gave notice that he intends to rely on the
                                                                                                                                        23 Divenere Declaration at trial as hearsay evidence. [See Hearsay Notice (Exh. 7); JS
                                                                                                                                        24 Decl., ¶9.] As explained further below, Petitioners have obtained Orders made in the
                                                                                                                                        25 English Action dated March 6 and March 10, 2020, by Mr. Justice Nicol (a High
                                                                                                                                        26 Court Judge who will also be the Judge at the forthcoming trial) permitting them to
                                                                                                                                        27 challenge Ms. Divenere’s hearsay evidence in the Divenere Declaration by cross-
                                                                                                                                        28 examining her at the trial via video-link (the “Orders”). [Exhs. 8 and 9.] However
                                                                                                                                             8544.5.3.7
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                                                                                                                                              APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                            TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                                                Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 8 of 14 Page ID #:8




                                                                                                                                         1 Ms. Divenere has declined to cooperate with Petitioners, which means that they will
                                                                                                                                         2 only be able to cross-examine her if this Court issues an order compelling Ms.
                                                                                                                                         3 Divenere to testify. [ARI Decl., ¶3; Exh. 14.]
                                                                                                                                         4                To take Ms. Divenere’s deposition would not be as effective as live cross-
                                                                                                                                         5 examination evidence because deposition testimony which is not directly ordered by
                                                                                                                                         6 the English Court is regarded as hearsay under English law and is unlikely to be
                                                                                                                                         7 given the same weight as live evidence at trial. [JS Decl., ¶11.] Practically, there is
                                                                                                                                         8 also insufficient time now for Petitioners to arrange to take a deposition of Ms.
                                                                                                                                         9 Divenere before the start of the trial on March 23, 2020. This lack of time is due to
                                                                                                                                        10 no fault on the part of Petitioners: Mr. Depp did not serve notice of his intention to
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                                                                                                                                        11 rely on the Divenere Declaration as hearsay until February 20, 2020. Mr. Justice
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12 Nicol gave permission to Petitioners to cross-examine Ms. Divenere at a hearing on
       G R A NT H A M L L P
                                       232 N. CANON DRIVE




                                                                                                                                        13 February 26, 2020, but the relevant Orders were not finalized until March 6 and
                                                                                                                                        14 March 10. The Petitioners have acted promptly since the hearing on February 26 in
                                                                                                                                        15 trying to arrange for the voluntary testimony of Ms. Divenere without the need to
                                                                                                                                        16 make this Application, and it only became apparent to Petitioners that the
                                                                                                                                        17 Application would indeed be required on March 10, 2020. With now only a week to
                                                                                                                                        18 go until the start of trial, it will not be possible for Petitioners to depose Ms.
                                                                                                                                        19 Divenere. [JS Decl., ¶12.]
                                                                                                                                        20                Petitioners are particularly keen to cross-examine Ms. Divenere because they
                                                                                                                                        21 understand that Ms. Divenere was pressured into signing the Divenere Declaration
                                                                                                                                        22 and that, accordingly, it is not a true and accurate account. [JS Decl., ¶13.] Shortly
                                                                                                                                        23 after she signed the Divenere Declaration, Ms. Divenere contacted Ms. Heard and
                                                                                                                                        24 told her that she had been pressured into signing it by Adam Waldman, an attorney
                                                                                                                                        25 representing Mr. Depp in the Virginia Action. At the time, Ms. Divenere was
                                                                                                                                        26 unrepresented by counsel. She apologized to Ms. Heard for signing the declaration.
                                                                                                                                        27 Shortly before the Declaration was made, on June 22, 2019, Ms. Divenere had
                                                                                                                                        28 forwarded a text from Mr. Waldman, with her comment, “Ugh – Just wanted to let
                                                                                                                                             8544.5.3.7
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                                                                                                                                              APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                            TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                                                Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 9 of 14 Page ID #:9




                                                                                                                                         1 you know.” [JS Decl., ¶14; Exh. 10.]
                                                                                                                                         2                Petitioners have also recently obtained an audio recording of a conversation
                                                                                                                                         3 between Ms. Heard and Ms. Divenere (and a transcript) in which Ms. Divenere
                                                                                                                                         4 again apologizes for making the Declaration, explains that Mr. Waldman had
                                                                                                                                         5 pressured her into doing it, and even asks Ms. Heard to contact her attorneys to “get
                                                                                                                                         6 me to do a declaration too and question me so that I can say something in your
                                                                                                                                         7 favor”. [JS Decl., ¶15; Exhs. 11 and 12.] In this audio recording Ms. Divenere gives
                                                                                                                                         8 a completely different account to the one set out in the Divenere Declaration. For
                                                                                                                                         9 example, she says that in the days following May 21, 2016, she did see Ms. Heard’s
                                                                                                                                        10 face looking “all swollen and red and she [Ms. Heard] had been crying” (contrary
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                                                                                                                                        11 to ¶5), that she “never saw Johnny” and “didn’t really have any interaction with
                                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                                        12 Johnny at all” (contrary to ¶7), and did not consider that Ms. Heard had been
       G R A NT H A M L L P
                                       232 N. CANON DRIVE




                                                                                                                                        13 verbally abusive towards Ms. James (contrary to ¶8).] It is therefore crucial for
                                                                                                                                        14 Petitioners to be able to cross-examine Ms. Divenere at trial so that the Judge can
                                                                                                                                        15 properly evaluate Ms. Divenere’s evidence.
                                                                                                                                        16                So far as Petitioners are aware, the Divenere Declaration was never filed in
                                                                                                                                        17 the Virginia Action, but shortly after it was signed, it was leaked to The Blast, a
                                                                                                                                        18 celebrity news website, which published an article about the declaration on July 15,
                                                                                                                                        19 2019. [Exh. 13.] Petitioners assume that it was leaked by Mr. Depp’s lawyers as part
                                                                                                                                        20 of their campaign to denigrate Ms. Heard in the press. This was the subject of the
                                                                                                                                        21 following passage in a Witness Statement submitted to the High Court by Mr.
                                                                                                                                        22 Smele’s colleague, Louis Charalambous:
                                                                                                                                        23         “I should add that Mr Waldman’s threat is consistent with other steps Mr
                                                                                                                                                   Waldman has taken in the US proceedings to provide documents to the
                                                                                                                                        24         media to advance his client’s cause. Mr Waldman obtained a declaration
                                                                                                                                                   from an individual called Laura Divenere dated 29 June 2019. I exhibit at
                                                                                                                                        25         page 108 of LC 3 a message he sent to Ms Divenere putting pressure on her
                                                                                                                                                   to cooperate with him by providing a declaration supporting the Claimant’s
                                                                                                                                        26         account. However I have been informed by Amber Heard’s US lawyers that
                                                                                                                                                   Ms Divenere’s declaration which I exhibit at pages 109-111 of LC 3 has not
                                                                                                                                        27         ever been produced or otherwise relied on by the Claimant in the US libel
                                                                                                                                                   proceedings. Instead it has been deployed in the media: it was attached as a
                                                                                                                                        28         link to an article published by The Blast enclosed hereto at pages 105-106 of
                                                                                                                                             8544.5.3.7
                                                                                                                                                                                             6
                                                                                                                                              APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                            TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                            Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 10 of 14 Page ID #:10




                                                                                                                                         1         LC 3. It is my firm belief that Mr Waldman must have supplied the
                                                                                                                                                   declaration to Blast for publication – it is difficult to see how else they could
                                                                                                                                         2         have obtained it.” [JS Decl., ¶16.]
                                                                                                                                         3                Ms. Divenere is now represented by Lee A. Sherman of Callahan Thompson
                                                                                                                                         4 Sherman & Caudill, LLP, of Irvine, California. Petitioners’ counsel have asked Mr.
                                                                                                                                         5 Sherman if they can interview Ms. Divenere, but Mr. Sherman has informed them
                                                                                                                                         6 that she will not cooperate voluntarily. [ARI Decl., ¶3; Exh. 14.]
                                                                                                                                         7 IV.            IMPORTANCE OF MELISSA SAENZ'S AND TYLER HADDEN’S
                                                                                                                                         8                TESTIMONY TO THE ACTION
                                                                                                                                         9                LAPD Officers Melissa Saenz and Tyler Hadden are two of the Police
                                                                                                                                        10 Officers who responded to a 911 call on May 21, 2016 and attended the Eastern
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                                                                                                                                        11 Columbia Building that evening. They were deposed in July 2016 in the course of
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                                                                                                                                        12 discovery in relation to the divorce proceedings between Mr. Depp and Ms. Heard.
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                                                                                                                                        13 [See Deposition Transcripts, Exhs. 15 and 16.]
                                                                                                                                        14                Mr. Depp has given notice that he intends to rely on the officers’ deposition
                                                                                                                                        15 testimony at the trial of the English Action as hearsay evidence. As explained
                                                                                                                                        16 further below, Petitioners have obtained Orders made in the English Action dated
                                                                                                                                        17 March 6 and March 10, 2020, by Mr. Justice Nicol permitting them to challenge this
                                                                                                                                        18 hearsay deposition testimony of Officers Saenz and Hadden by cross-examining
                                                                                                                                        19 them at the trial via video-link. Petitioners’ counsel sent letters to Officers Saenz
                                                                                                                                        20 and Hadden which were delivered to their police station on March 9, 2020, asking
                                                                                                                                        21 them to contact Petitioners’ counsel to arrange for them to testify voluntarily, but
                                                                                                                                        22 neither officer has responded. [JS Decl., ¶19; ARI Decl., ¶¶4-6; Exhs. 17-21.] Thus,
                                                                                                                                        23 Petitioners will only be able to cross-examine Officers Saenz and Hadden if this
                                                                                                                                        24 Court issues an order compelling them to testify.
                                                                                                                                        25                To take further depositions from Officers Saenz and Hadden would not be as
                                                                                                                                        26 effective because deposition testimony not directly ordered by the English court is
                                                                                                                                        27 regarded as hearsay under English law and is unlikely to be given the same weight
                                                                                                                                        28 as live evidence at trial. [JS Decl., ¶20.] For the same reasons as set out above in
                                                                                                                                             8544.5.3.7
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                                                                                                                                              APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                            TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                            Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 11 of 14 Page ID #:11




                                                                                                                                         1 relation to Ms. Divenere, there is also insufficient time for Petitioners to arrange to
                                                                                                                                         2 take a deposition of Officers Saenz and Hadden before the start of the trial on March
                                                                                                                                         3 23, 2020.
                                                                                                                                         4 V.             GOOD CAUSE EXISTS FOR ISSUING THE ORDER
                                                                                                                                         5                Good cause exists for granting this Application because Respondents'
                                                                                                                                         6 testimony is critical to Petitioners' defense in the English Action. If they are
                                                                                                                                         7 deprived of the opportunity properly to test and challenge the accounts of Ms.
                                                                                                                                         8 Divenere and Officers Saenz and Hadden which are set out in their prior deposition
                                                                                                                                         9 testimony and declaration, Petitioners will suffer severe prejudice and be unduly
                                                                                                                                        10 hampered in their ability to defend themselves against the claims asserted in the
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                                                                                                                                        11 English Action and the Judge in the English Action will not properly be able to
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                                                                                                                                        12 assess this evidence and weigh it against other evidence in the case.
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                                                                                                                                        13                Moreover, this application is made in accordance with the Orders made in the
                                                                                                                                        14 English Action dated March 6 and 10, 2020, by Mr. Justice Nicol, who gave
                                                                                                                                        15 permission for Respondents to give live cross-examination evidence at trial via
                                                                                                                                        16 video link. [Exhs. 8 and 9.] These Orders were made following hearings in which
                                                                                                                                        17 Mr. Depp was legally represented (and, in the case of the Order dated March 6, was
                                                                                                                                        18 personally present in Court). Mr. Depp’s attorney made clear that Mr. Depp had no
                                                                                                                                        19 objection to those Orders being made, provided that Petitioners made the necessary
                                                                                                                                        20 arrangements for these individuals to be cross-examined. [JS Decl., ¶21.] This is
                                                                                                                                        21 what Petitioners now seek to do.
                                                                                                                                        22 VI.            PETITIONERS SEEK ORDER ALLOWING THEM TO SERVE MS.
                                                                                                                                        23                DIVENERE’S COUNSEL
                                                                                                                                        24                The Hearsay Notice shows that Mr. Depp intends to use the Divenere
                                                                                                                                        25 Declaration at trial, but he has provided no mailing address for her and though
                                                                                                                                        26 Petitioners are trying to find her, her whereabouts are currently unknown. [Exhs. 7
                                                                                                                                        27 and 19.] However she is represented by Lee A. Sherman of Callahan Thompson
                                                                                                                                        28 Sherman & Caudill, LLP, of Irvine, California, who has had several
                                                                                                                                             8544.5.3.7
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                                                                                                                                              APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                            TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                            Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 12 of 14 Page ID #:12




                                                                                                                                         1 communications with Petitioners’ counsel on her behalf and has informed them that
                                                                                                                                         2 she will not cooperate voluntarily. [Exh. 14.] And Mr. Depp’s lawyers have
                                                                                                                                         3 provided an email address for her. [Exh. 19.] Given the urgency of the situation, if
                                                                                                                                         4 the Court grants this Application, Petitioners seek an order permitting them to serve
                                                                                                                                         5 the Order on Ms. Divenere by serving her counsel, Mr. Sherman, by email and/or by
                                                                                                                                         6 Federal Express, and by serving the Order on her by email at the email address
                                                                                                                                         7 provided by Mr. Depp’s lawyers.
                                                                                                                                         8                An individual may be served by “following state law for serving a summons
                                                                                                                                         9 in an action brought in courts of general jurisdiction in the state where the district
                                                                                                                                        10 court is located or where service is made.” [FRCP 4(e)(1); LSJ Investment Co., Inc.
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                                                                                                                                        11 v. O.L.D., Inc. (6th Cir. 1999) 167 F.3d 320, 322-323. Thus Petitioners are entitled
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                                                                                                                                        12 to utilize the same procedures they could use in state court to effect service in this
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                                                                                                                                        13 action, which includes service pursuant to court order by any manner reasonably
                                                                                                                                        14 calculated to give actual notice where there is no applicable statutory provision for
                                                                                                                                        15 service (Calif. C.C.P. § 413.30; see Global Impex, Inc. v. Specialty Fibres LLC (ND
                                                                                                                                        16 GA 2015) 77 F.Supp.3d 1268, 1270-1271 (applying Calif. law)—service by email
                                                                                                                                        17 ordered under CCP § 413.30 where plaintiff exercised diligence in attempting
                                                                                                                                        18 service by other methods and email address was reliable means of giving defendant
                                                                                                                                        19 notice).
                                                                                                                                        20 VII. CONCLUSION
                                                                                                                                        21                For the foregoing reasons, Petitioners respectfully request that the Court issue
                                                                                                                                        22 an order compelling Respondents to appear at the Beverly Hills Bar Association
                                                                                                                                        23 located at 9420 Wilshire Blvd., 2nd Floor, Beverly Hills, CA 90212 (or another
                                                                                                                                        24 designated location in Los Angeles County) at a designated time to testify via live
                                                                                                                                        25 satellite video link directly into the courtroom in London where the trial of the
                                                                                                                                        26 English Action is proceeding. [See [Proposed] Order filed concurrently herewith.]
                                                                                                                                        27 Petitioners expect that their examination of each Respondent will not last more than
                                                                                                                                        28 one hour. In addition to being directly cross-examined by Petitioners’ counsel, each
                                                                                                                                             8544.5.3.7
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                                                                                                                                              APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                            TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                            Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 13 of 14 Page ID #:13




                                                                                                                                         1 Respondent may also be re-examined by Mr. Depp’s counsel and/or questioned by
                                                                                                                                         2 the High Court judge.
                                                                                                                                         3                Petitioners have tentatively selected March 27, 2020 as the best date for
                                                                                                                                         4 Respondents' testimony and request that they be ordered to appear at the designated
                                                                                                                                         5 location in time to commence testifying at 7:00 am PST, which is 3:00 pm London
                                                                                                                                         6 time. The High Court usually finishes trials by 5:00 pm each day, and rarely agrees
                                                                                                                                         7 to continue beyond that time. [JS Decl., ¶22.]
                                                                                                                                         8                Petitioners further request that the order should provide that if Respondents'
                                                                                                                                         9 testimony cannot be completed on the first day, it shall resume on the next day and
                                                                                                                                        10 time which is set by the High Court; that their testimony shall be subject to English
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                                                                                                                                        11 legal practice and procedure; that their testimony shall not exceed a total of seven
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                                                                                                                                        12 hours; and that if the date, time or place for their testimony changes, Petitioners
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                                                                                                                                        13 shall notify Respondents and their counsel (if known) at least 48 hours in advance.
                                                                                                                                        14                Moreover, on the basis that Ms. Divenere and Officers Hadden and Saenz
                                                                                                                                        15 may lose out on professional work due to being otherwise engaged giving evidence,
                                                                                                                                        16 Petitioners agree to reimburse them for their time spent giving evidence at their
                                                                                                                                        17 usual professional rate (subject to being provided with satisfactory proof of such
                                                                                                                                        18 loss and the amount thereof). This order satisfactorily balances Petitioners’ need to
                                                                                                                                        19 obtain Respondents' testimony with minimizing the inconvenience to them of
                                                                                                                                        20 having to testify.
                                                                                                                                        21                Finally, an order compelling Respondents to testify in this manner will not
                                                                                                                                        22 burden this Court in any way, as it is not being asked to supervise the proceedings,
                                                                                                                                        23 nor is it likely that it will have to coercively enforce it.2
                                                                                                                                        24                Petitioners respectfully request that the Court issue an order in good time
                                                                                                                                        25
                                                                                                                                             2
                                                                                                                                        26   Mr. Sherman has indicated in an email to Petitioners’ counsel that he may oppose
                                                                                                                                           the application on her behalf. [Exh. 14.] A courtesy copy of this Application will be
                                                                                                                                        27 served on him as soon as it has been filed, as he requested. Id.
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                                                                                                                                                 APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
                                                                                                                                                               TYLER HADDEN IN FOREIGN PROCEEDING UNDER 28 U.S.C. 1782
                                                            Case 2:20-mc-00027-ODW-PJW Document 1 Filed 03/16/20 Page 14 of 14 Page ID #:14




                                                                                                                                         1 before March 23, 2020 (which is the first day of the trial in the English Action), so
                                                                                                                                         2 that the necessary arrangements can be made.
                                                                                                                                         3 DATED: March 16, 2020                RUFUS-ISAACS ACLAND &
                                                                                                                                                                                GRANTHAM LLP
                                                                                                                                         4
                                                                                                                                         5
                                                                                                                                         6
                                                                                                                                                                                By:
                                                                                                                                         7                                            Alexander Rufus-Isaacs
                                                                                                                                                                                      Attorneys for Petitioners News Group
                                                                                                                                         8
                                                                                                                                                                                      Newspapers Limited and Dan Wootton
                                                                                                                                         9
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                                                                                                                                              APPLICATION FOR ORDER COMPELLING TESTIMONY OF LAURA DIVENERE, MELISSA SAENZ AND
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